  Case 1:20-cv-00052-SPW Document 366-3 Filed 04/19/24 Page 1 of 5




Exhibit C
Case 1:20-cv-00052-SPW Document 366-3 Filed 04/19/24 Page 2 of 5




                                                CAEKAERT/MAPLEY 004999
Case 1:20-cv-00052-SPW Document 366-3 Filed 04/19/24 Page 3 of 5




                                                CAEKAERT/MAPLEY 005000
Case 1:20-cv-00052-SPW Document 366-3 Filed 04/19/24 Page 4 of 5




                                                CAEKAERT/MAPLEY 005001
Case 1:20-cv-00052-SPW Document 366-3 Filed 04/19/24 Page 5 of 5




                                                CAEKAERT/MAPLEY 005002
